Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 1 of 8
  Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 2 of 8             CX-1529C




                         Peter Mauro Schroepfer
                           6397 Thornhill Dr.
                           Oakland, CA 94611

                          schroepfer@gmail.com
                         seobanseok@gmail.com


                        Certificate of Translation


                              11 May 2012


I hereby certify that this Korean to English translation of pages
SAMNDCA10159856 to SAMNDCA10159858 of the document with the
beginning Bates number SAMNDCA10159856 is an accurate and
complete rendering of the contents of the source document to the best of
my knowledge, except for the word “TRANSLATION” at the upper right
corner of each translated page. I further certify that I am competent in both
languages and have twenty years of professional experience in Korean to
English translation.




                               CX-1529C pg. 1 of 7
               Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 3 of 8

                                                                                                              TRANSLATION




Dear Senior Vice President DongHoon Chang,

Regarding the China GDI evaluation, the overall consensus was that it generally lacks an innovative feel in all categories,
and below is a brief report regarding the exterior appearance and packaging.

- Evaluators
         Zhang wu: Designed the Beijing Olympics logo.
                     Comes from a prestigious family and is very influential within China’s design circles.
         Zhou yi: Runs S.Point Design Studio
         Carl Liu: Currently running Ideo Dao Design Studio.
                    An up-and-coming designer revered among young designers in China
         Hyung Gun Yoon: Professor at Shanghai Jiaotong University Media & Design Institute

- Smart Phone Flagship: Galaxy S vs Motorola (Droid) vs Apple (iPhone)
   : Not just the shape, but even the packaging looks like it copied the iPhone too much, and innovation is needed..

- Smart Phone : Galaxy Wave vs Nokia (X6) vs HTC (Legend)
   : While Wave has good proportions/processed quality, etc., it feels cluttered for having too many lines.
     Legend feels equivalent to the iPhone and feels like it has design leadership.

- Normal Touch : Monte vs Nokia (5230) vs LG (Arena)
   : Monte’s is a design for differentiation, and feels due to too much decoration.
     It feels like a local Chinese brand.


-Attachment 1: Business Management Center Summary Report document
 Attachment 2: Recap of HHP Contents (Shape + Packaging)


That is all.




------- Original Message-------
Sender: Kyuil Jeong<kyuil.jeong@samsung.com> D5(Lead)/Lead/Design Innovation Group (Design)/Samsung
Electronics
Date: 2010-05-20 16:56 (GMT+09:00)




                                                   CX-1529C pg. 2 of 7
                   Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 4 of 8

                                                                                                          TRANSLATION
Title: Here is the China GDI Progress Status Summary report.

Greetings, Senior Vice President. This is Lead Kyuil Jeong.

Here is the China GDI Progress Status Summary report that took place over the last four days.
Thanks to Director Donghwan Yang and many of the SDC members’ diligent preparations, the event went well without
any major problems.
Especially this year, in addition to the GDI Evaluation, a user VOC sharing workshop was held amongst designers from
the HQ and local RPMs, providing a good opportunity to understand China’s market conditions in detail and user VOCs.

Please refer to the attached files, and I will submit a more detailed report in Korea.

Thank you.. Regards


---------------------------------------------------------------------------------------
Timeline: 5/17(Monday)~20(Thursday)
                                                     st
- Day 1: Detailed Evaluation of the UI (1 round)
- Day 2: Detailed Evaluation of the Appearance, Detailed Evaluation of the UI (2nd round), Detailed Evaluation of the
Packaging, Comprehensive Evaluation (1st round)
- Day 3: Comprehensive Evaluation (2nd round), meeting for sharing local results
- Day 4: VOC Sharing workshop with China’s local RPMs and designers from the HQ (held for each product family)
---------------------------------------------------------------------------------------



---------------------------------------------------------------------------------------

Lead Kyuil Jeong / CVS [Certified Value Specialist]
Samsung Electronics / Design Management Center / Strategy & Planning, Design Team / Design Innovation Group
TEL : 82-2-2255-5021 / FAX : 82-2-2255-5029 / E-mail : kyuil.jeong@samsung.com

----------------------------------------------------------------------------------------



……………………………………………………………………………




                                                                 CX-1529C pg. 3 of 7
Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 5 of 8

                                                               TRANSLATION




                        CX-1529C pg. 4 of 7
Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 6 of 8




                        CX-1529C pg. 5 of 7
Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 7 of 8




                        CX-1529C pg. 6 of 7
Case 5:11-cv-01846-LHK Document 1350-1 Filed 07/26/12 Page 8 of 8




                        CX-1529C pg. 7 of 7
